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 1                         UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
 2
                            CASE NO. 22-CR-20326-KMM-1
 3
       UNITED STATES OF AMERICA,
 4                                             Miami, Florida
                        Plaintiff(s),
 5                                             November 8, 2022
                  vs.
 6
       ANDRE LORQUET,
 7
                      Defendant(s).       Pages 1 - 16
 8     -----------------------------------------------------------

 9                            INITIAL APPEARANCE
                    TRANSCRIBED FROM DIGITAL AUDIO RECORDING
10                  BEFORE THE HONORABLE JACQUELINE BECERRA
                         UNITED STATES MAGISTRATE JUDGE
11
       APPEARANCES:
12
       FOR THE PLAINTIFF(S):     ELIZABETH YOUNG, ESQ.
13                               UNITED STATES ATTORNEY'S OFFICE
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16
       FOR THE DEFENDANT(S):     DANIEL ECARIUS, ESQ.
17                               OFFICE OF FEDERAL PUBLIC DEFENDER
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21     TRANSCRIBED BY:           Joanne Mancari, RPR, CRR, CSR
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 1     Thereupon,

 2     the following proceedings were held:
 3               THE COURT:    We have got one case on the calendar

 4     today.   There is an order unsealing the indictment.         I have

 5     signed that.    The case is United States v. Andrè Lorquet, 22

 6     Cr. 20326, Moore.

 7               Will counsel state their appearances, please.

 8               MS. YOUNG:    Elizabeth Young on behalf of the United

 9     States, standing in for Jonathan Bailyn.

10               THE COURT:    All right.    Good afternoon, sir.

11               THE DEFENDANT:     Good afternoon, ma'am.

12               THE COURT:    So let me tell you what you are here for

13     today and what is going to happen in today's hearing.          OK.

14               THE DEFENDANT:     Yes, ma'am.

15               THE COURT:    As you can see, you are the only person

16     doing an initial appearance today.       That is pretty rare.

17     Usually we have got a half a dozen or more people here waiting

18     for an initial appearance.

19               You are before the court because the United States has

20     filed criminal charges against you.        You have been indicted by

21     a grand jury here in the Southern District of Florida.          So when

22     that happens and you are placed under arrest, you are entitled

23     to this hearing.    It is called your initial appearance.

24               At this hearing I am going to advise you of what your

25     rights are, I am going to tell you what the charge against you
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 1     is, what the maximum penalty for that charge is, and we are

 2     going to figure out -- I don't know that we are giving you a

 3     bond today.    I am going to ask the government what bond they

 4     recommend and, depending on what bond they recommend, you may

 5     or may not get a bond today.      They may recommend that you get

 6     no bond.    If they recommend that you get no bond, we might have

 7     to have a bond hearing today or we might have to get a

 8     continuance of that because they are entitled to time to

 9     prepare.    OK.

10                So, first of all, you are entitled to a lawyer.         All

11     right.   Your criminal case cannot proceed without a lawyer

12     because you have a right to counsel.        When you can't afford a

13     lawyer, I can appoint one for you.       All right.    In order for me

14     to appoint a lawyer for you, though, I have to find that you

15     can't afford a lawyer yourself.       If I find that you can't

16     afford a lawyer yourself, then I will appoint one for you.

17                If you can afford a lawyer, then I will give you time

18     to find that lawyer.     All right.

19                You have a right to remain silent.       Anything you say

20     can be held against you.      If you have already spoken to law

21     enforcement, you are under no obligation to continue making

22     statements.    If you decide later to speak to law enforcement,

23     you can do that, but you can also stop at any time.          You also

24     have a right to have a lawyer present.

25                Before I go on to tell you what the charges are and go
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 1     on to discuss the bond, let me ask you about the situation with

 2     a lawyer.   Can you afford a lawyer, sir?

 3               THE DEFENDANT:     No, ma'am.

 4               THE COURT:    All right.    I am looking at your Pretrial

 5     Services report.    Your Pretrial Services report, at least you

 6     told Pretrial Services that you have a number of assets,

 7     including two Teslas, a motorcycle, a Lamborghini, and a jet

 8     ski.

 9               THE DEFENDANT:     Yes, ma'am.

10               THE COURT:    So are those things that you own, you

11     lease?   I need to to know what assets you have in the world.

12               THE DEFENDANT:     I own, ma'am.    My business owns it.

13               THE COURT:    All right.    Who owns your business?

14               THE DEFENDANT:     Me, ma'am.

15               THE COURT:    Then you own it.     If you own the business

16     and these are assets that you have -- I mean, do you have

17     business partners or are you the only person in your business?

18               THE DEFENDANT:     The only person, ma'am.

19               THE COURT:    All right.    So this is the issue.     In

20     order for me -- by the way, you have two Rolex watches, right.

21               In order for me to appoint counsel for you that is

22     paid by the citizens of this community, I have to find that you

23     can't afford a lawyer.

24               I am looking here that you told Pretrial Services that

25     you have assets in excess of $300,000.
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 1                THE DEFENDANT:    They're not 300, but yes, ma'am.

 2                THE COURT:   Well, you told them you have a Tesla that

 3     is 70,000, another Tesla that is 70,000, a Lamborghini worth

 4     100,000.

 5                Is that a fair assessment of what those are worth?

 6                THE DEFENDANT:    Yes, ma'am.

 7                THE COURT:   All right.    So how is it that you wouldn't

 8     be able to afford a lawyer?

 9                THE DEFENDANT:    Those are for business use.      I don't

10     have any money, ma'am.

11                THE COURT:   I know, but you could sell things.        I

12     think the issue is that you have got a $70,000 Tesla, you might

13     want to sell it and get yourself a lawyer.        That is how the law

14     works.

15                THE DEFENDANT:    True, but you guys impounded one.

16                THE COURT:   Well, let me hear from the government.        Do

17     you know what the state of his assets are?

18                MS. YOUNG:   Your Honor, I am not aware -- this is a

19     PPP loan fraud case where he fraudulently got about a $3.5

20     million PPP loan.     That money, as is often the case, was simply

21     withdrawn and the government doesn't really know where that

22     money is at this point, unfortunately.        So I do think it sort

23     of shows that he does have potentially access to quite a large

24     sum of money depending on what he did with that PPP funds that

25     we cannot see from the bank accounts.
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 1               THE COURT:    What is going to be the government's

 2     position on a bond?

 3               MS. YOUNG:    Your Honor, I think that we could -- we

 4     have a basis for detention based on a risk of flight.          Among

 5     other things, unaccounted for is money.        He has some foreign

 6     ties, some foreign travel.      It is problematic he doesn't have

 7     an address on record with David.       Even his own mother doesn't

 8     know his address.

 9               So I think we have a basis to move for detention based

10     on risk of flight; however, I would like to try to work out a

11     bond.   I began to try to talk to the Public Defender about it,

12     if he is appointed, and I'm not sure based on the asset issue

13     that he will be.    We certainly could attempt to fashion a bond

14     here.

15               THE COURT:    What I would be inclined to do, and let me

16     hear from the Public Defender's Office on this because I

17     haven't had occasion to do this before, I don't mind appointing

18     the Public Defender for the limited purpose of helping him work

19     out a bond and then set it for a report re counsel in a week or

20     two.

21               I am looking at someone who has assets in the hundreds

22     of thousands of dollars and who committed a $3 million fraud,

23     according to the government.      I'm not sure he qualifies for the

24     appointment of counsel.

25               With that said, if he can work out a bond, I don't
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 1     want him to sit in jail while a lawyer helps him do that.

 2               Can the PD accept the limited appointment just for

 3     purposes of a bond?

 4               MR. ECARIUS:    We can accept it.     I think we can.     We

 5     will have to take it as a regular appointment, but with the

 6     idea that if he hires someone that appointment would end.

 7               THE COURT:    OK.   This is what I will do then.      I am

 8     going to appoint the Public Defender's Service to represent you

 9     today.

10               THE DEFENDANT:      Thank you.

11               THE COURT:    I am going to give the United States

12     Attorney's Office a week, right --

13               MS. YOUNG:    OK.

14               THE COURT:    -- to make a motion.

15               MS. YOUNG:    Sure.

16               THE COURT:    That gives you some time for Mr. Bailyn to

17     look at the file.     The government can always make the motion

18     that you don't qualify for the appointment of counsel because

19     of the asset issue, and if they do, then that can be heard by

20     the judge at that point.

21               This is the issue.     People who get lawyers here are

22     people who can't afford them.      I'm looking at your assets.       You

23     can afford a lawyer.

24               THE DEFENDANT:      All right, ma'am.

25               THE COURT:    I'm telling you, you have a $70,000 Tesla,
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 1     you are going to need to sell it is what is going to have to

 2     happen here.

 3               THE DEFENDANT:     Ma'am --

 4               THE COURT:    Now if the government impounded your

 5     stuff, then that is a different situation.

 6               THE DEFENDANT:     They did.

 7               THE COURT:    I don't exactly know right now what

 8     they've impounded.     We are here at the initial appearance.        The

 9     government isn't quite sure what you have access to or not.           I

10     am going to give them a week to work it out.         Maybe they don't

11     file any motion.    Maybe they figure out, you know what, this

12     money's already gone, he doesn't have any money.         But if they

13     think that you've got money for a lawyer, they will file a

14     motion that says that the appointment of counsel was

15     improper --

16               THE DEFENDANT:     And I can prove where the money went.

17               THE COURT:    -- and I'm giving them a week -- well, you

18     don't want to say anything else because anything you say can be

19     used against you.     So don't say a word.     This is why I gave you

20     a lawyer.

21               THE DEFENDANT:     Yes, ma'am.

22               THE COURT:    Because I don't want you to be working out

23     the bond without a lawyer.

24               All right.    So the charge against you, sir -- and

25     again, as I mentioned, you were indicted by a grand jury.           You
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 1     were indicted in connection with a fraud on PPE loans.

 2               You are charged in Counts One, Two, Three, and Four

 3     with wire fraud.    It is a 20-year term of imprisonment for each

 4     of those counts.

 5               Counts Five, Six, Seven, and Eight charge you with

 6     money laundering.     It is ten-year imprisonment each count.

 7               Count Nine is aggravated identity theft.         That is a

 8     two-year term mandatory.      Like it is just two years, you can't

 9     get any more, any less, and that runs consecutive to any other

10     sentence.   So if you were found guilty of any of these other

11     counts and, let's say, got five years from the judge, you would

12     have to do two more for the aggravated identity theft.

13               Do you understand that is the charge and the maximum

14     penalty against you?

15               THE DEFENDANT:      Yes, ma'am.

16               THE COURT:    OK.   Let me hear what the government's

17     position on bond is.

18               MS. YOUNG:    Your Honor, I was going to ask until

19     Thursday to set this for a detention hearing to give us a

20     moment to discuss a potential bond here.        I don't know if that

21     would work with Public Defender.       I am also happy if we have a

22     few moments, if you could indulge us, just to quickly have a

23     conversation about a possible bond.

24               THE COURT:    Why don't you take the time now.

25     Obviously nobody is waiting, so go ahead.
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 1                MS. YOUNG:    Thank you, your Honor.

 2                MR. ECARIUS:    Thank you.

 3                (Recess)

 4                THE COURT:    All right.    Do we have an agreement on the

 5     bond?

 6                MS. YOUNG:    We do, your Honor.

 7                THE COURT:    OK.    What is it?

 8                MS. YOUNG:    OK, Judge.    What we came to an agreement

 9     on was a $250,000 personal surety bond that would be cosigned

10     by the defendant's mother.        Her name is Vivian, V-I-V-I-A-N,

11     Lorquet, L-O-R-Q-U-E-T.        It would also be backed by her home

12     that has about $300,000 in equity.

13                Do you have the address for her home?

14                (Pause)

15                MS. YOUNG:    So, Judge, the address of his mother's

16     home is 7849 Whispering Palms Drive, No. 202.         That's Boynton

17     Beach 33437.

18                We would also have a $20,000 10 percent bond with

19     Nebbia conditions.      In addition, the standard conditions of

20     surrendering passports, not obtaining new travel documents,

21     report to Pretrial Services as directed, maintain or seek

22     full-time employment, no contact with victims except through

23     counsel, no firearms.

24                She is not to encumber her property.

25                He may not visit transportation establishments, and we
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 1     would also ask for a no new debt restrictions so that he

 2     doesn't take out any other debt or loans.

 3                THE COURT:   Did you say there was an employment

 4     restriction?    No, right?

 5                MS. YOUNG:   No, we don't have an employment

 6     restriction.

 7                THE COURT:   What is going to happen with the 10

 8     percent?    Is he going to be able to pay the 10 percent today.

 9                MRS. LORQUET:    Yes, your Honor, I'll pay.

10                MR. ECARIUS:    Yes, your Honor.     His mother says so.

11                THE COURT:   Is the government going to accept that

12     Nebbia?    Because it's got a Nebbia.

13                MS. YOUNG:   Yes.   I think based on the representations

14     it had nothing to do with the PPP loan fraud, so that Nebbia

15     would be met.    It is from her money.

16                THE COURT:   All right.     So that has to be paid in the

17     court registry today.      He can't be released until that's paid,

18     right.    So does she have time to go pay it?

19                THE DEPUTY CLERK:    Yes.    They close at 4:30.

20                THE COURT:   All right.

21                MR. ECARIUS:    Yes, Judge.

22                THE COURT:   So it will be a $250,000 personal surety

23     bond signed by the defendant and his mother.         The personal

24     surety bond will be collateralized by the home at 7849

25     Whispering Palms Drive in Boynton Beach -- that is his mother's
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 1     home -- No. 202.

 2                There will be a $20,000 10 percent bond with a Nebbia.

 3     The government has represented that the Nebbia will be met

 4     because it will be the mother putting the money in the court

 5     registry today.

 6                You are to surrender all passports and travel

 7     documents to Pretrial Services.       You are to report to Pretrial

 8     Services as they direct you.       You are to maintain and seek

 9     full-time employment.      You are to avoid contact with any

10     victims or witnesses of the crime.        If it has to do with your

11     preparation for trial, of course your lawyer will take care of

12     that.

13                You must refrain from possessing a firearm.         Pretrial

14     Services notes that you have a concealed weapons permit.           You

15     must surrender the permit and surrender your weapon to Pretrial

16     Services.

17                None of the signatories, that means your mom, you

18     can't take out a mortgage, you can't encumber your property in

19     any way during the time of the bond.

20                You cannot visit any commercial travel establishments.

21     You can't go to the airport, you can't go to the port, you

22     can't go to the train station.       Nothing.    All right.    You are

23     prohibited from going to any commercial transportation

24     establishment.

25                You are not to seek any debt yourself, sir.         So you
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 1     can't get a new debt without permission or any additional debt

 2     without permission of the court.

 3                The United States Attorney's Office will have a week

 4     to file a motion with the court asking for the court to

 5     reconsider its appointment of counsel.        It is either going to

 6     go to me or Judge Louis, right, because it is a Judge Moore

 7     case.   I will set the bond so you would think it will come to

 8     me, but if it doesn't come to me, I suspect that Judge Moore

 9     would then send it to his paired magistrate, which in this case

10     is Judge Louis.

11                If the government doesn't file anything, then I will

12     assume, then, that the appointment of counsel is proper.

13                I still have to read the government the Brady

14     admonition.    So let me do that.

15                As required by Rule 5(f) of the Rules of Criminal

16     Procedure, the United States is ordered to disclose to the

17     defendant all exculpatory evidence, that is, evidence that

18     favors the defendant or casts doubt on the United States case,

19     as required by Brady v. Maryland and its progeny.

20                The government has a duty to disclose any evidence

21     that goes to negating the defendant's guilt, the credibility of

22     a witness, or that would reduce a potential sentence.           The

23     defendant is entitled to this information without a request.

24     Not doing so in a timely manner may result in consequences,

25     including, but not limited to, the exclusion of evidence,
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 1     adverse jury instructions, dismissal of charges, contempt

 2     proceedings, disciplinary action, or sanctions by the court.

 3                I think what I will do is I will reset the date for

 4     arraignment.    I typically would have the arraignment today, but

 5     I think we will reset it --

 6                MR. ECARIUS:    Judge, we are ready for arraignment

 7     today.   I am going to be able to meet with him after.

 8                THE COURT:   Right.    The problem is if I arraign him

 9     today and the government files a motion next week that says the

10     appointment from the Public Defender's Office is improper given

11     his wealth, he won't be any better off, right.

12                So I think what I will do is if they have a week, they

13     will have until next Tuesday, what I will do is I will set the

14     arraignment for next Thursday or next Friday, whatever date is

15     better for you, sir.

16                MR. ECARIUS:    Thursday should be good.

17                THE COURT:   So why don't I set it for Thursday.        If

18     the government hasn't filed anything, then you are clear for

19     the arraignment.     If it does, then you can either reset the

20     arraignment or have the hearing before me or before Judge Louis

21     before Thursday on the issue of the bond.

22                MS. YOUNG:   Great.    Thank you, Judge.

23                THE COURT:   I'm sorry.    Not on the bond, on the issue

24     of the appointment of counsel.

25                Donna, set it for arraignment next Thursday.
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 1                THE DEPUTY CLERK:     Judge, what about the Nebbia

 2     stipulation?    Are you filling that out as well, Mr. Ecarius?

 3                THE COURT:   The assistant United States attorney has

 4     represented on the record that there is no issue with the

 5     Nebbia.

 6                MS. YOUNG:   OK.

 7                THE COURT:   So I don't think we should have an issue

 8     with the Nebbia then.

 9                THE DEPUTY CLERK:     I'm not sure if financial will

10     take -- I think they need to see the Nebbia, but let me verify

11     that, the Nebbia form.

12                THE COURT:   Right.    You may have to sign the Nebbia

13     form or if you want to withdraw the Nebbia restriction given

14     the representation that it is going to be his mother who is

15     going to depose it the money, whatever your preference is.

16                MS. YOUNG:   That sounds more efficient.       We will just

17     withdraw the Nebbia restriction because I just don't see it

18     being a problem here.

19                THE COURT:   They are going to withdraw it.

20                THE DEPUTY CLERK:     Never mind.

21                MS. YOUNG:   Thank you, Judge.

22                THE COURT:   All right.    You will withdraw and that

23     will be easier for her to get to the clerk's office and get it

24     done before the end of the day.

25                MS. YOUNG:   No problem.
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 1                THE COURT:    All right.   Ms. Young, anything else on

 2     behalf of the United States?

 3                MS. YOUNG:    No.   Thanks, Judge.    Good to see you.

 4                THE COURT:    Good to see you.

 5                Mr. Ecarius, anything else on behalf of your client?

 6                MR. ECARIUS:    Nothing, your Honor.     Thank you.

 7                (Adjourned)

 8

 9                              C E R T I F I C A T E

10

11            I hereby certify that the foregoing is an accurate

12     transcription to the best of my ability of the digital audio

13     recording in the above-entitled matter.

14

15     December 19, 2022          s/ Joanne Mancari
                                  Joanne Mancari, RPR, CRR, CSR
16                                Court Reporter
                                  jemancari@gmail.com
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